 

Case 1:05-cv-01018-.]DT-STA Document 4 Filed 06/03/05 Page 1 of 4 /FZ??<LQe|D 9
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IN THE UNITED STATES DISTRICT COURT f,,`{¢{;,¢j.j~`*f’/ g 0 f 7
FoR THE wEsTERN DISTRICT oF TENNESSEE 1»:";;; ‘L'.g§¢g_'¢ / //`%,:Z/f,
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l,_¢ ..LCl/‘\/ .
WENDY CRAIG, )
)
Plaintiff, )
)
v. ) Case No. 1:05- 1018-T/An
)
PORTER CABLE/DELTA )
)
Defendant. )

 

SCHEDULING ORDER

 

Pursua;nt to the scheduling conference set by written notice, the following dates
Were established as the final dates for:

RULE 26(a)(1) DISCLOSURE DEADLINE: JUNE 17 2005

 

JOINING PARTIES: JULY 1 2005

 

AMENDING PLEADINGS: JULY 1 2005

 

COMPLETING ALL DISCOVERY:

(a) DOCUMENT PRODUCTION: DECEMBER 20 2005

 

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: DECEMBER 20 2005

 

(c) EXPERT DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: NOVEMBER l 2005

 

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: NOVEMBER 28 2005

 

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Case 1:05-cv-01018-.]DT-STA Document 4 Filed 06/03/05 Page 2 of 4 Page|D 10

FILING PRETRIAL MOTIONS (INCLUDING MOTIONS FOR SUMMARY
JUDGMENT): IANUARY 24 2006 Any response to a dispositive motion,
including a motion for summary judgment, shall be filed within 30 days of the
filing of the dispositive motion.

 

FINAL LIST OF WI'I`NESSES AND EXHIBITS (Rule 26(a)(3)):
(a) PLAINTIFF: MARCH 15 2006

 

(b) DEFENDANT: MARCH 31 2006

 

Parties shall have 14 days after service of final lists of witnesses and exhibits to
file objections under rule 26(a)(3).

The trial of this matter is expected to last three to four days, and is SE'I` FOR
JURY TRIAL at 9:30 a.rn. on APRIL 24 2006 . A joint pretrial order shall be
submitted no later than 5:00 p.m. on APRIL 14 2006 . In the event the parties are
unable to agree on a joint pretrial order, the parties must notify the court at least ten days

before trial.

 

 

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Ceitificate of Consultation.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate
ludge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

Case 1:05-cv-01018-.]DT-STA Document 4 Filed 06/03/05 Page 3 of 4 Page|D 11

The parties are encouraged to engage in conn-annexed attorney mediation or

private mediation on or before the close of discovegg.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be

modified or extended.

I'I` IS SO ORDBRED.

AGREED AND APPROVED FOR ENTRY:

GILBERT & RUSSELL, PLC

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d h
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Kathryn W. Pascover

Attomeys for Defendant Porter Cable/Delta

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case l:05-CV-010l8 was distributed by faX, mail, or direct printing on
.lune 6, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

